                                                                          .     .   *
                                                                                * Gz
AO 106(Rev.01/09)ApplicationforaSearohWarrant                             ,

                                U M TED STATES D ISTRICT C OURT c- ogmAqjasos#m
                                                                              vA
                                                                                cr.     .


                                                              fortlle                                               RLED
                                                  westcvnDistrictofvirgixtia                                  JA$ 2#2212
             In the M attetofthe Search of
        (Briellydescribethepropertytobesearched
                                                                                      KmDz cc.            R

        orfderlll
                x thepersonbynameandaddress)
                    111 2nd Street
                                                                        cawxo. I:/qmJ I
                       Bristol,VA


                                      APPLICA TION FO R A SEARCH W ARQANT
         1,afederal1aw enforcementoo ceroraa attorney forthe governm ent requesta searcltw arrantaad stateu der
penaltyofperjtuy thatIhavereasontobelievethatthereisnoW concealed onthefollowingpersonorproperty
located hlthe         W estem         Districtof              Virginia            (identt
                                                                                        ? thepersonordescribepropertyto
Jlex
   veartéelca#gfveitslocationl: 111 2nd Stfeet,Bristol,VA -to'include the residence,curtilage,garages,outbuildings,
                                 cam pers,persons present,vehiclespresent,and vehicles in the im mediate vicinityofthe
                                 residence (providedthe operatorsoforkeystosaidvehiclesare presentonthe premises).
                                 AttachmentA consists ofa photograph ofthe residence.
       '
       rheperson orpropertytobesearched,describedabove,isbelievedtoconceal(identt
                                                                                ? thepersonordescribethe
pmwer/
     .
     ytobexefze/: see AttachmentB


                                                     .           '

         n ebasisfortheserchtmderFed.R.Cnm.P.41(c)is(ckeckoneormorel'
                                                                    .
               # evidenceofacrime;
               f contraban; fruitsofcrime,orotheritemsillegallypossessed;
               Y propertydekignedforuse,intendedforuse,orusedincommittingacuime;
               O aperson to bearrested ora person who istmlaw fully restrained.

        'T'
          hesearch isrelatedtoaviolationof               21 U.S.C.j 846/841(a)(1) ,andtheapplication isbased onthese
facts: SeeAttachmentC                                         and/or 841(a)(1)


          V Continuedontllentlnchedsheet.
          O Delayednoticeof   days(giveexactendingdateifmore/1a1130days:                                            )isreqtwsted
            under18U.S.C.j3103+ thebasisofwhichissetforth ontheattachedsheet.

                                                                                            Applicant's J/
                                                                                                         gnallfrc
                                                                               Brian Snedeker,SpecialAnent
                                                                                            Printedname t
                                                                                                        za: title

Swom to before m eand signed in my presence.


Date: '/s/l,                                                                                  Judge'
                                                                                                   sdfgziall/r:
City and state'
              .       Abingdon,Virginia                                        Pamela Meade Sargent,USMJ
                                                                                            Printednameczitftitle
            Case 1:19-mj-00001-PMS Document 1 Filed 01/04/19 Page 1 of 7 Pageid#: 1
                      A TTA C H M EN T A




                        1112ndstreet,Bristol, VA




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 ZZZ7     -- .




                                    ATTACHM FN T B


1. M ethamphelnminedistributionparaphemaliaincluding(butnotlimitedto)scales,
        cuttingm aterial,plmsticbaggies.wrapping matçrial'
                                                         ,devicesused to comm llnicate
        w1111otherdrugtram ckers/co-conspiratorsincluding cellulartelephpnesandtwo-way
        radios;electroniceqtlipm entused forcounter-surveillanceto includevideo
        surveillancesystemsandrelatedDVRS(digitalvideorecorders),scanners,andanti-
        bugging devices.

2. Firearm s,including butnotlim itedto hM dguns,riSes,and shotgunsthatare
   com monly used by individualsto protectcontrolled substancesand related dt'ug
   proceeds/assets. Firearms,ohentimesstolenaarealso routinely bartered in excbsnge
   forconkolled substances.

3. Books,records,ledgers,notespand W deospertaining totheillicitdistributionx
   plzrchasing.and tcanqportingofm ethamphetnmine.

4. M essages,letters,telephonenlzmbers:and addressesrelatingto customers,suppliers,
   and otherco-conspiratorsinvolved m th theillicitdistribution,purchasing,and
   transporting ofm ethamphetamine.These messages,letters,telephonenllmbers,
   and addressesm ay bem itten on personalcalene s,personaladdressand /or
   telephonebooks,Rolodextypeindices.notebooks,loosepiecesofpaperaandfound
   in m ail.

5. Photographsandvideosdepictingmethamghetlminemdrugdistribution
        paraphernaliavsubstantialassets,co-consplrators,and personswith
        metlmmphetam ine,

6. Books,ledgers,receipts,banltsïtements,cashier'schecks,and otheritem s
   evidencingtheacquisitionosecreting,transfening and/orconcealmentofassetsorthe
   expenditure ofnarcoticsproceeds.

7. ltem sorarticlesofpersonalproperty tendingtoshow ownership,dom inion,or
        conlolofthepremises/property/vehicles.Suchitemsorarticlesinclude(butarenot
        limitedto)m rsonalidentifcation,m rsonalcoaespondence,diahes,checkbooks,
        notes,photographs,keys,receipts,mail,m rsonaltelephoneand addressbooks,
        videos,andmotorvehiclerelateddocllments(titles/registrations).
8. T-argeamountsofcurrency(exceeding$1000.00)orreadilytransportedassets
   which areusedascashequivalents(cashier'schecks,prepaidmoney/creditcards,
   moneyorders,gold,diamonds,preciousjewels,etc.)
9. Itemslisted in Paragraphs3 through 7 m aybestoredin digitalm edia. Therefore,
        digitalmedia(includingbutnotlimitedtocomputers/computerharddrives,digital
        videorecorders(DvRslafloppydisks,CD7s,flash/  jumjdrives,personaldigital
        assiKtants(PDA's),cellulartelephones/smao hones,dlgitalcameras,PODs,PADs,
        etc.)aretobeseizedandexaminedfortheitemslistedinPnrngraphs3through7.


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                                  ATTACHMENT C

                                  AO AVIT of
                           SpecialAgentBrian Snedeker
                          Drug Enforcem entAdministration
                                  BristolaVirginia



1.1,SpecialAgentBlian Snedeker,being dulyswom hereby depose and say:

2.The purpose ofthisapplication andaffidavitisto sectlre asearch warrantforthe
  Pfemisesknown as 1112ndSt,Brikola VA.ThisaY ant,aAerobtaining and
  reviewing informationmbelievesthereisevidence ofdistribution of '
  m etbamphelsm ineand/orconspiracy to distributemethamphetam ine at111
  2ndSkeet, Bristol,VA indolationof21USC 841(a)(1)and846/841(a)(1).

3.Iam aSpecialAgentwiththeDrugEnforcementAdministration(DEA)andhave
  been soemployedforapproximately(27)years.Duringmyemploymentlhave
   received comprehensiveclassroom training from theDnlg Enforcem ent
   Adm inistration in specialized narcoticinvestigativem attersincluding butnotlimited
   to dnlg interdiction,drugdetection,m oney launderingteclmiquesand schem es,
   sm uggling,andtheinvestigation ofindividualsand organizationsinvolving the
   sm uggling,cultivationam anufacfun'ng,and illicittm m ckingofconkolled substances
   andconkolledsubstnnceprecursors. Ihaveqarticipatedintheinvestiqationsand
   subsequentarrestsofhundredsofindividualsm volved with thetram cklng of
   methamphetamine(aScheduleH ConkolledSubstance).1havealsoexecuted
  hundredsofsearch wsrrantsrelated totheknm ckingand manlzfactnrk
                                                                'ngof
   metham phetam ine.

4. Thefactssetforth ih thisaffidavitareknown tom easa resultofmy participation in
   the investigation ofEarlM ccoy andhisassociatesand infonnation provided
   tom eby otherlaw enforcementoflcers. Anyreliableconfidentialsource refen' ed to
   inthisaflidavithasperformedmultiplecontrolledpurchases(monitored,recoyded,
   and suweilledby1aw eeorcement)ofmethsmphetamine.Anyreferencetothe
   genderofany reliableconsdentialsourcedoesnotnecessarily retlectthetruegender
   ofsaid conlidentialsource.

5. During 2018,aconcem ed citizen advised 1aw ee orcementthatFmd M ccoy and his
   paM er,AnthonySmitk taketripseachmonthtoAtlanta(Georgia)topickup
   m ethamphetamine and heroin.

6.On October9,2018,Anthony Smith wasarrested in Bristol,VA duringthe courseofa
   motorvehiclestopin whichmorethan(1)otuweofmethamphetaminewasseized
   from Sm ith. Sm ith iscurrently free on bond.

7.Law enforcementobsewedAnthony SmithatEarlM ccoy'sresidente(1112ndSt,
  Bristol,VA)duringthelatterhalfofOctober2018.

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8. Dmingthelast(50)days,1aw enforcemeptutilizedareliableconfidentialspurce
   (orsources)toperform mtlléplecontrolledpurchaqes(monitored,surveilledaand
   recordedbylaw enforcement)ofmulti-gram qllantitiesofmethamphelaminefrom
   EarlM ccoy atl112ndSt, B ustoj,vA .

9. DuringDecember2418,law enforcementobservqdAnthonySmith'svehicleparked
   outside ofEarlM ccoy'sresidence.

10.Duringmid-December2018,Ead Mccoy'sco-habitantfiledacomplaintwith1aw
   enforcementclaimingthatM ccoythreatenedherw1t11twoflrearms(strikingherwith
   one)hehadwithintheresidence.Theco-habitantsubsequentlyprovided1aw
   enforcementwith detailsregardingthefirearms(handguns)with onebeingdescribed
    asarevolverand onebeing described asa sem i-autom aticpistol. The co-habitant
   believesiheflrea= sarerealbutisadmittedlynotveryfamiliarwith flrearms.The
   co-habitantclaimedthatM ccoy stuckherwith therevolver.Theco-habitantalso
   provided 1aw enforcem entwith medicaldocllmentsrelated to thetreatmentshe
   receivedasaresultofherinjuriesqndsaiddocllmentationincluded..referencesto
   conmsionsandindicatedmedicationprescribedfortreatmentrelatedtoherinjuries.
    Theco-habitantalso claim edthatM ccoy assaulted herin February2018,butatthat
    timeheusedascrewdriverandatapemeasm eqsweapons(photosoftheco-
    habitantandherinjuliesfrom thatassaulthaverecentlybeenreviewedby1aw
    enforcement).Duetothefeartheco-habitantnow hasofM ccoyusingfirearmsin
    ltisdomesticviolenceassaults,shehasmoved outoftheresidence and taken her
    minorchildren w1111her. TheBristolVirginiaPoliceDepartmentdetective
    responsibleforinves:gating cn'm èsofdom esticviolenceiscurrently in theprocess
    ofobtaining arrestwarrantsforEarlM ccoy chargingM ccoy w1111brandishing a
    flrearm and domesticmssaultutilizinga ftrearm .

11.Duringthelast(12)days,areliablecontidentialsourceadvised1aw enforcementthat
    EarlM ccoy and Anthony Smith wenton aroad tripto pick upm ethamphetam ine.

12.A reliableconfidentialsotlrce advised 1aw ee orcem entthatshe observed alarge
    quantityofmethamphetamine(morethan20ounces)atEarlM ccoy'sresidence
    duringthelmst(8)days.Theréliableconfidentialsourcealsoadvisesthatshehas
    previously heardM ccoy and Anthony Sm ith discussfirearms.

    Thisparticularreliable cov dentialsom cehasperformed controlled purchasesof
    metbamphetam ineand otherconkolled substancesfrom numerousindividualsin the
    Bristol,VA areaoverthelastseveralyears. These conkolled purchaseshaveled to
    1he arrests and conviclionsofG ultiple defendaùts.

    On multipleoccasionsduring the lastweek,thisaffianthasobserved avehicle
    registered toAnthony Smith'sdaughterparked atEarlM ccoy'sresidence.
    Individualsinterviewed by 1aw enforcem enthaveadvisedthatSm ith'sdaughterand
    herboyfriend also sellmethamphetamine.

14. Thisnm antisaware based on hisM ining,experience,and conversationsw1t11other
    law ee orcementom cersthatindividualswho distribute and/orconspireto distribute


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   m ethnmphetminetypically maintain methamphetam ine distribution paraphernalia
   (small,plastic,Ziploc-typebaggies,digitalscales,etc.),notes,records,messages,
   andtelephonenumbers(pertainingtometlmmphetaminetraffickingrelated
   conocts/co-conspirators/customers),andotheritemsaslistedandexplainedon
   AttachmentB (oftheApplicationandAm davitforSearchW arranttowhichthis
   ax davitisattached)ontheirpersons,insidetheirresidences,garages,
   outbuildings/barns,campers,vehicles(orthevehiclestheyoperate),andinsideof
   vehidesregisteredto otherpersonswhen thbsevehiclesareparked atorin the
   imm ediatevicinity ofthetraftk ker's/conspirator'sresidence/property.

15.Thisafiiantisawarebased on llislaining,experience,and conversationsw ith other
   1aw enforcem entoftk ersthatpersonswho distributeand/oqconspireto distribute
   methnm phetam inerouénelyhaveindividuplswho are customersand/orco-
   conspiratorspresentattheirresidences,garages,outbuildings/barnq,and cam pers.
   These customers/co-conspiratorsaretypically drugusersand dnlgtraG ckers
   themselvesastheygenerallysellsome(ifnotaI1)ofthemethamphetaminethey
   purchasein orderto make aprost,pay fortheirown drug habits,orboth.These
   custom ers/co-conspiratorsoAen illegallypossessm ethamphetnm ineand drug
   use/distribution paraphernaliaalongwith notestrecords,m essgges,and telephone
   mlmbers(pertainingtotheacquisition/distributlonofmethamphetamine),andother
   itemsaslistedandexplainedonAttachmentB (oftheApplicationandM fidavitfor
   SearchW aaanttowllichthisaffidavitisattached)ontheirpersonsandintheir
   veMcles(orthevehiclestheyoperate)wltichareoftentimesparkedatorinthe
   immediatevicinity oftheirsources'/co-conspirators'residences.
16.M ethamphelnm inekam ckersareregularly fotmdto bem ethamphetnm ineusersas
   well.M etham phefsmine tlserouénely causesindividualsto actin apamnoid,
   agp essive,and oAentim espanicked msnnertherebypresenting asignilcantly
   increased levelofdangerto 1aw enforcem ent. M etham phetaminetram ckers
   routinelym aintain/utilizefirearmsto protecttheirm etham phetamine,related
   proceeds,and saleslocations,and thuspresentasignificantly increased levelof
   dangerto1aw enforcement.Based upon theaboveand the irtformation contained
   within!10and:12,thisafsantbelievesthereisreasonablesuspicionthatknocking
   and rmnouhcingthepresenceof1aw enforcem entofficersatthetime ofthe execution
   ofthissearch wanantwould provedangeroustothe1aw ee orcem entoo cers
   hw olved in theexecuéon ofthe s:arch warrant.
17.EarlM ccoy'sknownresidenceis1112DdSkeet,Bristol,VA (locatedwithin
   theW estem DistrictofVirginial.
18.Based upon thefactssetforth above,Ibelievethereisprobable cagseforthe
   issuanceofa search warrantforthepremisesknown as1112ndStreet, Bristol,
   VA asthere isprobable causeto believethatthereisevidenceofaviolation of 21
   USC 841(a)(1)and 846/841(a)(1)atsaidpremises.




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                                          /-LJ-Qojq
 Brian Snedeker,SpecialAgent(DEA)             D ate




Subsoribedandsworntobeforeme,thisthe          ayof                      /X
in AbingdonoVirginia.                                            J
                                          ;
                                          Pam elaM eade Sargent
                                        United StatesM agistrateJudge
                                         W estem DistrictofVirginia




Seenby:


      /s/Roy F.Evans                    01-02-2019
    Roy F.Evans,SAUSA                      D ate




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